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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                  CRIMINAL NO. 1:16CR09-06
                                                (Judge Keeley)

 MICHAELO MERONE,

                   Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 140),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On June 16, 2016, the defendant, Michaelo Merone (“Merone”),

 appeared before United States Magistrate Judge Michael J. Aloi and

 moved for permission to enter a plea of GUILTY to Count Twelve of

 the Indictment. After Merone stated that he understood that the

 magistrate    judge   is   not   a   United   States   District   Judge,     he

 consented to tendering his plea before the magistrate judge.

 Previously,    this   Court    had   referred   the    guilty   plea   to   the

 magistrate judge for the purposes of administering the allocution

 pursuant to Federal Rule of Criminal Procedure 11, making a finding

 as to whether the plea was knowingly and voluntarily entered, and

 recommending to this Court whether the plea should be accepted.

       Based upon Merone’s statements during the plea hearing and the

 testimony of Officer Aaron Graves of the Mon Metro Drug Task Force,

 the magistrate judge found that Merone was competent to enter a

 plea, that the plea was freely and voluntarily given, that he was

 aware of the nature of the charges against him and the consequences
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 of his plea, and that a factual basis existed for the tendered

 plea. On June 16, 2016, the magistrate judge entered a Report and

 Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

 (dkt.     no.   140)   finding   a   factual   basis   for   the    plea   and

 recommending that this Court accept Merone’s plea of guilty to

 Count Twelve of the Indictment.

         The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

         Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Merone’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Twelve of the Indictment.

         Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.




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       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

       1.    The Probation Officer shall undertake a presentence

 investigation of Merone and prepare a presentence report for the

 Court;

       2.    The Government and Merone are to provide their versions

 of the offense to the probation officer by July 11, 2016;

       3.    The presentence report is to be disclosed to Merone,

 defense counsel, and the United States on or before September 9,

 2016; however, the Probation Officer is not to disclose the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

       4.    Counsel may file written objections to the presentence

 report on or before September 23, 2016;

       5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before October 7, 2016; and

       6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual basis from the statements or motions, on or before October

 7, 2016.


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       The magistrate judge continued Merone on bond pursuant to the

 Order Setting Conditions of Release (dkt. no. 23) entered on

 February 9, 2016.

       The   Court   will   conduct    the   sentencing   hearing    for   the

 defendant on Tuesday, October 18, 2016 at 10:30 A.M. at the

 Clarksburg, West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: July 1, 2016


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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